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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs                                                      Case No: 04-80335
                                                         Honorable Victoria A. Roberts
 D-1   REGINALD DANCY,

      Defendant.
 ____________________________________/

                                 OPINION AND ORDER

 I.    INTRODUCTION

       This matter is before the Court on Defendant Reginald Dancy’s Motion Under 28

 U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence. Defendant’s motion is

 DENIED.

 II.   BACKGROUND

       In May 2005, Defendant pled guilty to charges in two separate indictments. First,

 on May 24, 2005, Defendant pled guilty before the Honorable Nancy G. Edmunds to a

 continuing criminal enterprise (“CCE”), in violation of 21 U.S.C. §848. United States v

 Dancy, U.S. District Court for Eastern District of Michigan, Case no. 03-80981. In his

 Rule 11 Plea Agreement, Defendant stipulated that he and seven co-conspirators

 distributed cocaine from various sources to others in Michigan, Alabama, and Georgia

 from 1990 to 2003. Defendant also stipulated that he and one other co-conspirator

 were the organizers and supervisors of the operation.



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        On May 31, 2005, Defendant pled guilty before this Court to conspiracy to

 distribute marijuana, in violation of 18 U.S.C. §§841(a)(1) and 846 (Count I), and

 conspiracy to launder monetary instruments in violation of 18 U.S.C. §§1956(a)(1)(A)(i);

 1956(a)(1)(B)(i); 1956(h) (Count 6). In his Rule 11 Plea Agreement for those charges,

 Defendant stipulated that from January 1, 1999 through April 13, 2004, he knowingly

 and intentionally agreed with others to distribute over 10,000 kilograms of marijuana. In

 furtherance of the agreement, Defendant said he obtained the drugs from Arizona and

 elsewhere and transported them to Detroit, Michigan where they were distributed and

 sold. Additionally, Defendant admitted that he “knowingly and intentionally agreed with

 others to conduct financial transactions involving money that he knew was the proceeds

 of unlawful marijuana drug trafficking activity, with the intention of further promoting that

 unlawful activity, and concealing the nature, source and ownership of the proceeds from

 the government.” Rule 11 at p. 6. He also admitted he used the proceeds to purchase

 additional quantities of marijuana. Of the seven co-defendants named in the action

 before this Court, only one (Rory D. Jones) was also named in the action before Judge

 Edmunds.

        On October 11, 2005, Judge Edmunds sentenced Defendant to 240 months

 imprisonment. On January 4, 2006, this Court sentenced Defendant to 262 months

 imprisonment. This Court’s sentence, pursuant to the Rule 11 Plea Agreement, runs

 concurrently with case number 03-80981.

        Defendant appealed this Court’s sentence to the Sixth Circuit. The appeal was

 dismissed on August 3, 2006. The judgment of conviction became final on November 3,

 2006, when the 90-day period for Defendant to appeal the Sixth Circuit decision to the

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 United States Supreme Court lapsed. See United States v Sanchez-Castellano, 358

 F.3d 424, 426 (6th Cir. 2004).

        Defendant now asks this Court to vacate or set aside his conviction in this Court

 due to ineffective assistance of counsel. Specifically, Defendant argues that his

 attorney erred by: 1) allowing Defendant to enter a guilty plea to the conspiracy charges

 although the Court violated FRCrP 11(b)(1)(G) by failing to inform him of the essential

 elements of each offense, and 2) allowing Defendant to enter a guilty plea to Count I

 (conspiracy to distribute marijuana) although it is a lesser included offense of the CCE

 charge to which he had already pled. Defendant requests an evidentiary hearing to

 establish facts which support his claim.

 III.   APPLICABLE LAW AND ANALYSIS

        To sustain a claim for ineffective assistance of counsel, Defendant must prove

 that his attorney’s performance was deficient and that he was prejudiced by the

 deficiency. Mason v Mitchell, 320 F.3d 604, 616 (6th Cir 2003)(citing Strickland v

 Washington, 466 U.S. 668, 687 (1984)). An attorney’s performance is deficient if it falls

 below an objective standard of reasonableness. Id. However, “[t]he objective standard

 of reasonableness is a highly deferential one and includes ‘a strong presumption that

 counsel's conduct falls within the wide range of reasonable professional assistance.’" Id

 at 616-617 (quoting Strickland, 466 U.S. at 689). To prove prejudice, Defendant “must

 show that there is a reasonable probability that, but for counsel's unprofessional errors,

 the result of the proceeding would have been different.” Strickland, 466 U.S. at 694. “A

 reasonable probability is a probability sufficient to undermine confidence in the

 outcome.” Id. Defendant failed to carry his burden with respect to either claim of error

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 because he failed to establish that his attorney’s performance was deficient.

        A.     FRCrP 11(b)(1)

        Under FRCrP 11(b)(1)(G), the district court must when accepting a guilty plea

 inquire as to whether the defendant understands the nature of the charge to which he is

 pleading guilty. Because the Court did not state the elements of each offense during

 the plea colloquy, Defendant contends the Court did not fulfill its obligation under

 FRCrP11(b)(1)(G). There is no merit to this claim.

        “[A] determination of defendant’s understanding involves consideration of the

 nature of the charge and the dialogue that took place between the defendant and the

 Court during the Rule 11 proceeding.” United States v Van Buren, 804 F.2d 888, 891

 (6th Cir. 1986). “The ‘district court must be satisfied, after discussion with the defendant

 in open court, that the defendant understands the elements of the offense.’” United

 States v LaLonde, 509 F.3d 750, 760 (6th Cir. 2007)(quoting United States v McCreary-

 Redd, 475 F.3d 718, 723 (6th Cir. 2007)). “At a minimum, the defendant must

 understand the ‘critical’ or ‘essential’ elements of the offense to which he or she pleads

 guilty.” United States v Valdez, 362 F.3d 903, 909 (6th Cir. 2004).

        A less probing inquiry of the Defendant’s understanding is required for simple

 charges. United States v Syal, 963 F.2d 900, 904-905 (6th Cir. 1992). For instance, in

 United States v Edgecomb, 910 F.2d 1309, 1313 (6th Cir. 1990), where the Sixth Circuit

 found that the defendants’ drug related conspiracy charges were “simple enough for a

 lay person to understand,” it held that FRCrP 11(b)(1)(G) was satisfied because the

 district court recited the count in the indictment, asked defendants if they understood the

 charges and discussed them with their attorneys, and the government read the facts

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 underlying the charges. For more complex charges, further explanation is required.

 Syal, 963 F.2d at 904-905.

        Here, the elements of each count were listed in the Rule 11 and it included a

 detailed stipulation of the facts underlying each charge. See Rule 11 Plea Agreement

 at pp. 5-7. When questioned by the Court, Defendant acknowledged that he read and

 reviewed the agreement with counsel, and he gave an abbreviated recitation of the

 factual basis of the charges. Plea Tr. at pp. 8-9, 21-22.

        Defendant has not established that either charge was so complex that more was

 required. The Court’s inquiry into whether Defendant read and reviewed the Rule 11

 with counsel and his own statement of the facts underlying each charge was sufficient

 to ensure Defendant was aware of the nature of the charges against him. Therefore,

 Defendant’s claim fails on the first prong of the Strickland analysis; he has not shown

 that his attorney’s performance was deficient.

        B.     Double Jeopardy

        Defendant contends that his convictions for CCE and conspiracy to distribute

 marijuana violate the Double Jeopardy Clause of the Fifth Amendment because he is

 being punished twice for one offense. That is, Defendant says it is apparent from the

 face of the Indictment that the conduct underlying the marijuana charge overlaps with

 and is part of the conduct underlying the CCE charge. There is no factual basis for

 Defendant’s claim.

        The Double Jeopardy Clause, provides that no person shall “be subject for the

 same offence to be twice put in jeopardy of life or limb,” and precludes successive

 prosecutions for the same offense. U.S. Const., Amend V; Murr v United States, 200

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 F.3d 895, 900 (6th Cir. 2000). Because all of the elements of a conspiracy charge (21

 U.S.C. §846) are subsumed in the elements of a CCE charge (21 U.S.C. §848), the

 Supreme Court held that conspiracy is a lesser included offense of CCE and conviction

 under both statutes may constitute impermissible cumulative or multiple punishment in

 violation of the Double Jeopardy clause. See Rutledge v United States, 517 U.S. 292,

 300-302 (1996); United States v Avery, 128 F.3d 966, 971-972 (6th Cir. 1997).

       But, there is no double jeopardy violation, when the respective charges are

 based upon independent conspiracies. For example, in United States v Evans, 951

 F.2d 729 (6th Cir. 1991), the Court found no double jeopardy violation when defendant

 was convicted of CCE and conspiracy based on his involvement in two separate drug

 conspiracies. In the “Garret conspiracy,” defendant financed the importation of

 marijuana in a drug operation headed by another individual and he was convicted of

 multiple counts of conspiracy. Shortly thereafter, defendant was convicted of CCE for

 independently orchestrating another operation, the “Evans conspiracy,” to import and

 distribute marijuana and cocaine. Although the timeframe of the conspiracies

 overlapped and twelve co-conspirators worked within both, the court found that a

 number of distinctions between the two established that they never merged as a single

 conspiracy:

          One was headed by defendant Evans, and the other was headed by
          Randall Garrett; one focused on the importation of cocaine, and the
          other involved the importation of marijuana; and although there was
          an overlap of personnel, a majority of the people involved with Mr.
          Evans apparently were not involved with Mr. Garrett. There was also
          evidence that Evans played no supervisory or organizational role in
          the illegal activities directed by Garrett; that Garrett exercised no
          control over the people involved in the activities directed by Evans;
          and that for the most part, at least, as the district court found, “the

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          sources of supply as between the two conspiracies were not similar.”

 951 F.2d at 739 (concurring).

        The stipulated facts in Defendant’s Rule 11 Plea Agreement in this and his prior

 case (Case no. 03-80981) establish that Defendant’s CCE and conspiracy to distribute

 marijuana charges are based upon separate conspiracies. That is: 1) the conspiracies

 involved different drugs; distribution of cocaine in 03-80981 and marijuana in this case;

 2) the CCE cocaine conspiracy covered a larger geographical area; it was distributed

 between three states, whereas marijuana was only distributed in Detroit; and 3) with the

 exception of Defendant and one other individual out of at least fourteen, there were

 different participants in each operation.

        While the timeframe of the respective conspiracies overlapped and Defendant

 participated in both, there is nothing which indicates the schemes merged into a single

 operation. Therefore, there is no basis for the Court to find that the marijuana

 conspiracy was part of the cocaine conspiracy upon which Defendant’s CCE conviction

 is based. Consequently, Defendant has not established that his attorney’s performance

 was deficient with respect to his plea to Count I.

 IV.    CONCLUSION

        Defendant’s motion is DENIED.

        IT IS ORDERED.


                                             S/Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

 Dated: April 29, 2008


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 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record and pro se defendant by electronic
 means or U.S. Mail on April 29, 2008.

 s/Carol A. Pinegar
 Deputy Clerk




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